
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-06-305-CV



DEBRA LYNN PATMORE	
APPELLANT



V.



WILLIAM MARTIN PATMORE 	APPELLEE

 
	

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FROM THE 355
TH
 DISTRICT COURT OF HOOD COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Motion To Dismiss Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).



PER CURIAM



PANEL D: &nbsp;WALKER, J.; CAYCE, C.J.; and MCCOY, J. 



DELIVERED: &nbsp;&nbsp;November 30, 2006

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




